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                         UNITED STATES DISTRICT COURT

                           DISTRICT OF SOUTH DAKOTA

                                  NORTHERN DIVISION


UNITED STATES OF AMERICA,
                                                            1:23-CR-10024-CBK
                     Plaintiff,
       vs.                                            MEMORANDUM OPINION AND
                                                                  ORDER
CHRISTOPHER THOMAS MANIN,

                      Defendant.


      Defendant was charged in a second superseding indictment in Count I with
possession of a firearm by a prohibited person, a felon in violation of 18 U.S.C.
§922(g)(l) and a person subject to a protection order in violation of IS U.S.C.
§ 922(g)(8). Defendant was charged in Count II with possession of a firearm by a
prohibited person, a felon in violation of 18 U.S.C. §922(g)(l) and an unlawful user of a
controlled substance in violation of 18 U.S.C. § 922(g)(3). Defendant and the
government entered into a plea agreement wherein the defendant agreed to plead guilty to
Count I and he entered a guilty plea on October 30, 2023.
      Defendant admitted in the factual basis statement that he was a prohibited person
because he was subject to a protection order. When the Court recited Count I during the
change of plea hearing, the parties raised an objection to the language concerning
defendant being a felon. Counsel for the government orally moved to amend Count I of
the second superseding indictment to redact the language "having been convicted of a
crime punishable by imprisonment for a term exceeding one year, and then knowing he
had been convicted of a crime punishable by imprisonment for a term exceeding one
year, and" and the Court orally granted the motion.
       A presentence investigation report was prepared wherein the United States
Probation and Pretrial Services presentence writer calculated defendant's total offense
level using a base offense level of20, pursuant to U.S.S.G. § 2K2.1(a)(4)(B)(i)(I).
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Defendant objected, contending that the parties "stipulated" in the plea agreement to a
base offense level of 14. In the plea agreement, the parties agreed, inter alia:
        [T]he United States and the Defendant stipulate that the Defendant's
        sentence is to be initially calculated, pursuant to U.S.S.G. § 2K2.1. Under
        U.S.S.G. § 2K2.1(a)(6), the base offense level is 14 in that the Defendant
        was a prohibited person at the time ofthe offense.

Plea Agreement, Doc. Doc. 45,^ 8, entitled "Stipulated Offense Level"(emphasis
supplied).
        Federal Rule of Criminal Procedure 11(c)Plea Agreement Procedure provides, in
part:

        (1)   In General. An attorney for the government and the defendant's
              attorney, or the defendant when proceeding pro se, may discuss and
              reach a plea agreement. The court must not participate in these
              discussions. Ifthe defendant pleads guilty or nolo contendere to
              either a charged offense or a lesser or related offense, the plea
              agreement may specify that an attorney for the government will:

              (A)not bring, or will move to dismiss, other charges;

              (B)recommend, or agree not to oppose the defendant's request,
              that a particular sentence or sentencing range is appropriate or that a
              particular provision of the Sentencing Guidelines, or policy
              statement, or sentencing factor does or does not apply(such a
              recommendation or request does not bind the court); or

              (C)agree that a specific sentence or sentencing range is the
              appropriate disposition ofthe case, or that a particular provision of
              the Sentencing Guidelines, or policy statement, or sentencing factor
              does or does not apply (such a recommendation or request binds
              the court once the court accepts the plea agreement).

Fed. R. Crim. P. 11(c)(emphasis supplied). The terms "recommend" and "agree" are
legal terms of art when used in conjunction with plea agreements and the district court
judges' responsibilities under Fed. R. Crim. P. 11(c).
        Notably, the agreement does not cite to the relevant Rule 11(c)(1) provision
applicable to the agreement.
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       The Eighth Circuit has also acknowledged that, under Rule 11(e)(1)(C),"a plea
agreement may stipulate 'that a specific sentence or sentencing range is the appropriate
disposition ofthe ease' and 'such a recommendation or request binds the court once the
court accepts the plea agreement.'" United States v. Worthington, 89 F.4th 1058, 1060
(8th Cir. 2024)(emphasis added). See also. United States v. Williams, 750 Fed. Appx.
510, 511 (8th Cir. 2019)(noting that Rule 11(e)(1)(C) allows the parties "to stipulate a
sentence or sentencing range in a plea agreement.") and United States v. Hoskins. 489
Fed. Appx. 990, p. 2(8th Cir. 2012)(noting that the parties had "stipulated" in a Rule
11(e)(1)(C) agreement to the sentence).
       Stipulations in plea agreements are clearly "Type-C" agreements under Fed. R.
Crim. P. 11(e)(1)(C).
      Rule 11(e) sets forth specific obligations of the district court and protections for
criminal defendants with regard to recommendations and stipulations in plea agreements.
      (3)    Judicial Consideration of a Plea Agreement.

             (A)To the extent the plea agreement is of the type specified in Rule
             11(e)(1)(A) or(C), the court may accept the agreement, reject it, or
             defer a decision until the court has reviewed the presentenee report.

             (B)To the extent the plea agreement is of the type specified in Rule
             11(c)(1)(B), the court must advise the defendant that the
             defendant has no right to withdraw the plea if the court does not
             follow the recommendation or request.

      (4)    Accepting a Plea Agreement. If the court accepts the plea agreement,
             it must inform the defendant that to the extent the plea agreement
             is ofthe type specified in Rule 11(c)(1)(A) or(C), the agreed
             disposition will be included in the judgment.

      (5)    Rejecting a Plea Agreement. If the court rejects a plea agreement
             containing provisions ofthe type specified in Rule 11(c)(1)(A) or
             (C), the court must do the following on the record and in open
             court(or, for good cause, in camera):

             (A)inform the parties that the court rejects the plea agreement;
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             (B)advise the defendant personally that the court is not required to
             follow the plea agreement and give the defendant an opportunity
             to withdraw the plea; and

             (C)advise the defendant personally that if the plea is not
             withdrawn, the court may dispose of the case less favorably
             toward the defendant than the plea agreement contemplated.

Fed. R. Crim. P. 11(e)(emphasis supplied).
       The government attempted to prevent the defendant's protections in Rule 11(c) by
including a provision in Paragraph 8 ofthe plea agreement that:
       The Defendant further understands that should the Court not follow the
       terms ofthis stipulation and agreement, he will not be allowed to withdraw
       his plea.

Such a plea agreement provision in the same paragraph as language that would qualify as
type 11(c)(1)(C) is contrary and offensive to the protections of Rule 11(c)(3),(4), and
(5). Such a provision is not enforceable ifthe court rejects a Type-C plea agreement.
       The United States Supreme Court has explained:
       A sentence imposed pursuant to a Type-C agreement is no exception to the
       general rule that a defendant's Guidelines range is both the starting point
       and a basis for his ultimate sentence. Although in a Type-C agreement the
       Government and the defendant may agree to a specific sentence, that
       bargain is contingent on the district court accepting the agreement and
       its stipulated sentence. The Sentencing Guidelines prohibit district courts
       from accepting Type-C agreements without first evaluating the
       recommended sentence in light of the defendant's Guidelines range. USSG
       § 6B 1.2(c). So in the usual case the court's acceptance of a Type-C
       agreement and the sentence to be imposed pursuant to that agreement are
      "based on" the defendant's Guidelines range.

Hughes v. United States. 584 U.S. 675,686-87, 138 S. Ct. 1765, 1776, 201 L. Ed. 2d 72
(2018)(internal citation omitted)(emphasis added).
       Prior to the sentencing hearing, I advised the parties in writing that their stipulated
base offense level of 14 was contrary to the Sentencing Guidelines and the facts ofthis
case. Guidelines § 2K2.1(a)(4) directs that a base offense level of20 be applied if
(A)the defendant was a felon or(B)the offense involved a "semiautomatic firearm that
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is capable of accepting a large capacity magazine." Counsel for the government
responded by moving to supplement the record in writing that I had orally granted the
government's motion to strike the language from Count I ofthe indictment charging that
the defendant was a felon. Counsel for the government further filed a memorandum
wherein the government first cited to Rule 11(c) and "doubled-down" on the position that
the govemment merely "recommended" that a sentencing factor applied and thus the
Paragraph 8 provision ofthe plea agreement was merely a Type-B provision under Fed.
R. Crim. P. 11(c)(1)(B). The govemment continued to assert that, under the Sentencing
Guidelines, the correct base offense level is 14.
       This matter came on for a sentencing hearing. At that hearing, I ruled that the plea
agreement was a Type C agreement as described by Fed. R. Crim. P. 11(c)(1)(C).
Because the plea agreement's stipulated base offense level was contrary to the Federal
Sentencing Guidelines, I rejected the plea agreement and offered to let the defendant
withdraw his plea. The parties continued to assert that the base offense level was 14.
The parties relied upon Application Note 2 to USSG 5K2.1 which defines, in a more
limiting fashion than the guideline itself, the phrase "semiautomatic firearm that is
capable of accepting a large capacity magazine" as;
      [A]semiautomatic firearm that has the ability to fire many rounds without
      reloading because at the time ofthe offense(A)the firearm had attached to
      it a magazine or similar device that could accept more than 15 rounds of
      ammunition; or(B)a magazine or similar device that could accept more
      than 15 rounds of ammunition was in close proximity to the firearm.

USSG § 2K2.1, comment,(n.2). The parties asserted that the discovery in this case did
not include any information as to the presence of a high-capacity magazine. Counsel for
the defendant admitted that one ofthe firearms that defendant possessed was capable of
accepting a high-capacity magazine but that Application Note 2 prohibited the
application ofthe higher base offense level because the Court would be required to find
that a magazine was attached to or in close proximity to the firearm.
       The plain language of USSG § 2K2.1(a)(4)(B) unambiguously assigns a base
offense level of20 when a firearm offense involves a "semiautomatic firearm that is
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capable of accepting a large capacity magazine." The United States Supreme Court long
ago held that "commentary in the Guidelines Manual that interprets or explains a
guideline is authoritative unless it... is inconsistent with, or a plainly erroneous reading
of, that guideline." Stinson v. United States. 508 U.S. 36, 38, 113 S. Ct. 1913, 1915, 123
L. Ed. 2d 598(1993).
      Putting aside for the moment the case law discussing the applicability of
Application Note 2,1 find that a base offense level of 20 would in any event be applicable
in this case. Base offense levels are determined based upon, inter alia, relevant conduct.
U.S.S.G. § IB 1.3. The presentenee report in this case shows unambiguously that the
defendant had previously been convicted of felony grand theft, felony theft of drugs, and
felony possession ofLSD in Ohio state court in 1986. Defendant did not object to the
fact that he has previously been convicted of a felony. Therefore, pursuant to
§ 5K2.1(a)(4)(A), the base offense level is 20. The plea agreement is contrary to the
Federal Sentencing Guidelines and I cannot and do not accept the plea agreement.
       Defendant orally moved to withdraw his guilty plea and, consistent with Fed. R.
Grim. P. 11(c)(5)(B), such motion should be granted and was orally granted. The
government orally withdrew its written motion to amend Count I ofthe second
superseding indictment to remove reference to defendant's status as a felon and moved to
vacate my previous oral order redacting Count I of the second superseding indictment. I
orally granted that motion.
       Now,therefore,

      IT IS ORDERED:

       1. The defendant's motion to withdraw his guilty plea is granted.
       2. The government's oral motion to withdraw its written motion. Doc. 72, to
supplement the record is granted. Doe. 72 is withdrawn.
       3. The government's oral motion to vacate my prior oral order amending Count I
ofthe second superseding indictment is granted. The oral order striking certain language
from Count I ofthe second superseding indictment, which was entered on the record on
October 30, 2023, is vacated.

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       4. The defendant's motion, Doc. 62, for a downward departure or variance is
denied as moot.

       5. The jury trial herein shall commence on Tuesday, July 23, 2024, at 10:30 a.m.
in the Federal Courtroom of the U.S. Courthouse, 102 Fourth Avenue SE, Aberdeen,
South Dakota.

       6. July 5, 2024, is hereby set as the deadline for submission to the Court and filing
of any proposed plea agreements, factual basis statement and motions to enter oral pleas.
       7. All proposed jury instructions shall be submitted to the Court not later than ten
(10) working days before trial.
       8. Requests for subpoenas shall be filed no later than fourteen(14) working days
before trial.

       9. A list of witnesses and proposed exhibits, along with a copy of proposed
exhibits, shall be submitted directly to the Court, the Clerk of Courts and to opposing
counsel by no later than 9:00 a.m. on the Friday before trial.
       DATED this                 of June, 2024.
                                           BY THE COURT:




                                           CHAPH.es B. KOPINMANN
                                           United States District Judge
